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            Sealed                                                                United States Courts
Public and unofficial staff access                                              Southern District of Texas
     to this instrument are
   prohibited by court order                                                           &/>ED
                                                                                   January 22, 2024
                                                                              EaƚŚĂŶKĐŚƐŶĞƌ, Clerk ofCourt

                                                                        4:24-mc-5131




             telephone

                  January 22, 2024

                              Houston, TX
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